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                                           UNITED STATES BANKRUPTCY COURT
                                          FOR THE NORTHERN DISTRICT OF TEXAS
                                                    DALLAS DIVISION


  IN RE:                                                             §                            CASE NO.          21-30995
  GOLF TAILOR, LLC                                                   §

  DEBTORS(S),                                                        §                             CHAPTER 11

                                          NOTICE OF APPEARANCE AND REQUEST
                                         FOR SERVICE OF NOTICES AND PLEADINGS

    PLEASE TAKE NOTICE that the undersigned hereby enters an appearance on behalf of:

    DALLAS COUNTY

 secured creditor(s) in the above-referenced proceedings. The undersigned hereby requests notice and copies of all motions notices,

 reports, briefs, applications, adversary proceedings, proposed orders, confirmed copies of orders, any proposed disclosure statement

 or plan of reorganization that has been filed with the court, any other documents or instruments filed in the above-referenced

 proceedings and any other matter in which notice is required pursuant to 11 U.S.C. Sec. 1109(b) and Bankruptcy Rules 2002(a) and

 (b), 3017(a), and 9013 of the Federal Rules of Bankruptcy Procedure.

    Copies should be mailed to the secured creditor(s) in care of the undersigned at the address set forth below.

                                                         Certificate of Service

I do hereby certify that on 1st day of June, 2021, a copy of the above and foregoing has been this date served electronically or mailed

to the parties listed below:

    AREYA HOLDER AURZADA                         US TRUSTEE (DALLAS)
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                                                         By: /s/ Laurie A. Spindler
                                                              Laurie A. Spindler
                                                              SBN: 24028720 TX
